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THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
v. : 3:06-CR-73
: (JUDGE MARIANI)
LUIS PERDOMO,
Defendant.
_— ORDER

AND NOW, THIS pl DAY OF SEPTEMBER, 2020, upon consideration of
Defendant Luis Perdomo’s “Motion to Correct Sentence Under 28 U.S.C. § 2255” (Doc.
219), for the reasons set forth in this Court’s accompanying memorandum opinion, IT IS
HEREBY ORDERED THAT:

1. Defendant Luis Perdomo’s Motion is DENIED.

2. A Certificate of Appealability shall not issue.

3. The Clerk of Court is directed to CLOSE Civil Case No. 3:16-cv-01305-RDM.

 

Robert D. Mariani”
United States District Judge

 
